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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

AMRIT HANS-ATCHISON                                  Case No.: _________________

             Plaintiff,
vs.

HIGHMARK, INC. D/B/A
HIGHMARK BLUE CROSS BLUE SHIELD and
BLUE CROSS BLUE SHIELD HEALTHCARE
PLAN OF GEORGIA, INC. D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD,

         Defendant.
________________________________________/

                                   COMPLAINT

       COMES NOW, Plaintiff, AMRIT HANS-ATCHISON (hereinafter “Plan

Beneficiary”), through undersigned counsel, and sues Defendants, HIGHMARK,

INC.    D/B/A    HIGHMARK         BLUE     CROSS     BLUE     SHIELD      (hereinafter

“Highmark”) and BLUE CROSS BLUE SHIELD HEALTHCARE PLAN OF

GEORGIA, INC. D/B/A ANTHEM BLUE CROSS AND BLUE SHIELD,

(hereinafter “Anthem”), and alleges:

                              NATURE OF ACTION

       This is a civil action arising under the laws of the United States, specifically

the Employment Retirement Income Security Act of 1974, Title 29, United States

Code Sections 1000-1461 (“ERISA”), for Defendants’ wrongful processing and

denial of coverage for Plaintiff’s health insurance benefits for a medically

necessary acute rehabilitation admission, for failure to provide a meaningful


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review under ERISA law, for damages, attorney’s fees and costs, and for other

relief within the subject matter jurisdiction of this Court.

                            JURISDICTION AND VENUE

        1.   This Court possesses original jurisdiction pursuant to Title 29,

United States Code, Section 1132(e), and Title 28, United States Code, Section

1331.

        2.   Venue is proper in the Middle District Court of Florida pursuant to

Title 29, United States Code, Section 1132(e) and Title 28, United States Code,

Section 139l(b) since the facts and circumstances (e.g., claim denial and payment

of health benefits) giving rise to this cause of action transpired (in whole or in

part) in Seminole County, Florida and (2) Defendants’ conduct a substantial

amount of business in this District and in Seminole County, Florida.

        3.   This is an action that involves parties and property located within

the venue of this Court, and venue is otherwise proper pursuant to 28 U.S. Code §

1391.

                                  THE PARTIES

        4.   At all times material hereto, the Plan Beneficiary was a citizen and is

and was an individual residing in Seminole County, Florida and is sui juris.

        5.   At all times material hereto, the Defendant, HIGHMARK, INC.

D/B/A HIGHMARK BLUE CROSS BLUE SHIELD (hereinafter “Highmark”), is

and was a health insurance company authorized to, and doing business in the




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state of Florida and providing health insurance coverage and plan administration

services to Florida residents, including Plaintiff.

      6.     At all times material hereto, the Defendant, BLUE CROSS BLUE

SHIELD HEALTHCARE PLAN OF GEORGIA, INC. D/B/A ANTHEM BLUE

CROSS AND BLUE SHIELD (hereinafter “Anthem”), is and was a health

insurance company authorized to, and doing business in the state of Florida and

providing health insurance coverage and plan administration services to Florida

residents, including Plaintiff.

      7.     A substantial part of the events or omissions giving rise to the claim

occurred in Seminole County, Florida.

      8.     At all times material hereto, the Defendant Highmark, administered

health benefits and related services in the State of Florida, and is subject to the

jurisdiction of this Court.

      9.     At all times material hereto, Highmark administered employer

health benefits and administered health insurance claims for Plaintiff in the State

of Florida and more specifically in Seminole County, Florida.

      10.     At all times material hereto, the Defendant Anthem, administered

health benefits and related services in the State of Florida, and is subject to the

jurisdiction of this Court.

      11.    At all times material hereto, Anthem administered employer health

benefits and administered health insurance claims for Plaintiff in the State of

Florida and more specifically in Seminole County, Florida.


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      12.    At all times material hereto, Hitachi Rail STS USA, Inc. (hereinafter

“Hitachi”), is and was a self-funded employer that sponsored a health insurance

plan of which Plaintiff is and was a beneficiary. Hitachi employed more than 20

employees at all relevant times.

      13.   Hitachi is the Plan administrator, however, pursuant to the plan’s

terms, only Highmark is empowered to interpret the Plan and make claims

decisions under the Plan.

      14.    Under the terms of the Plan administered by Defendant, Highmark,

Patients who are covered under plans that Defendant administers, like Plaintiff,

are entitled to coverage and payment for medically necessary health benefits.

      15.    At all times material hereto, the Defendant, Highmark was the

claims administrator for Hitachi, a self-funded employer sponsored health

insurance plan, of which, Plaintiff was a beneficiary.

      16.   At all times material hereto, the Defendant, Anthem was the claims

administrator for Hitachi, a self-funded employer sponsored health insurance

plan, of which, Plaintiff was a beneficiary. It is unclear what the relationship

between Anthem and Highmark is, but Anthem made claim appeal

determinations for the Plaintiff.

      17. At all times material hereto, the Defendant, Anthem acted as an Agent

for Highmark as the claims administrator for Hitachi, a self-funded employer

sponsored health insurance plan, of which, Plaintiff was a beneficiary.




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                         PRELIMINARY STATEMENT

      Plaintiff submitted an appeal to Anthem which Anthem processed. Despite

the appeal having been submitted for dates of service from June 25, 2023, and all

dates of service moving forward, Anthem only reversed and approved one date of

service – June 25, 2023. Plaintiff made attempts to resolve the issues, but

Anthem did not respond to Plaintiff’s attempts to resolve the issues, and only

approved one day.

                        STATEMENT OF THE FACTS

      18.     At all material times, the Plan Beneficiary was covered by the health

insurance plan (Member ID No. 647W15116) sponsored and self-funded by her

husband’s employer, Hitachi. A copy of the Plan document is attached hereto. See

Composite Exhibit A.

      19.   Highmark is the claims administrator for Hitachi.         Highmark is

solely responsible to Plaintiff as a fiduciary with complete authority to review all

denied claims for benefits under the Health Plan. See Plan Document, pg. 46, 56,

58.

      20.      The Plan Beneficiary is bound by Highmark’s interpretation of the

Plan when Anthem administers the Coverage.           See Plan Document, pg. 53.

Anthem is responsible to the Plan Beneficiary for what Anthem’s employees and

other agents do. Id.




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      21.     At all material times, the Plan Beneficiary required medical

services. More specifically, Plaintiff’s treating providers determined that she

needed Acute In-Patient Rehabilitation services.

      22.       A pre-authorization request was submitted by the Beneficiary for

inpatient treatment at NeuLife Rehabilitation located at 2725 Robie Ave, Mt

Dora, FL 32757 (“NeuLife”) for continued therapy which was subsequently

denied by Anthem.

      23.       In June 2023, the Beneficiary, submitted a Request for Acute

Inpatient Rehabilitation admission for services beginning on June 25, 2023 and

continuation of care for the diagnoses of Guillian Barre Syndrome, Neurogenic

Bladder and Pleural Effusion w/PluerX Cath, foot drop, left foot, foot drop,

rightfoot, unspecified abnormalities of gait and mobility.

      24.   By letter June 21, 2023, Anthem denied the request as not medically

necessary. See Exh. B. Per the guidelines quoted by Anthem, the following

elements must be met for services to be approved:

      1. Patient must be participating in intensive therapy (generally a minimum
      of 15 hours per week);
      2. Patient is showing measurable improvement in functioning;
      3. Patient is making progress in therapy (physical therapy, occupational
      therapy, and/or speech/language therapy; and
      4. Other care needs are stable and improving.

      25.   Anthem quotes MCG Guideline Inpatient Rehabilitation Facility

(IRF) Admission Recovery Facility Care: Neurological Disorders (ORG: I-7016),

but fails to provide a copy of the coverage guidelines and also fails to provide a



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citation to where these guidelines can be accessed by the Insured, thus the

Insured is unable to provide a detailed response related to the guidelines cited.

      26.    Anthem determined the services were not medically necessary. No

      further information was provided by Anthem to support the denial.

      27.    On September 20, 2023, Ms. Hans Atchinson submitted an appeal

and requested that Anthem “Please provide the policy provision and/or definition

that defines “significant progress” and the basis of your denial based on

“significant progress” in addition to many other documents.

      28.    As part of the appeal she submitted over 1,000 pages of clinical

documentation, as follows:

         •   2023 Neurology Office Notes
         •   Paracentesis Reports from January 2023 through September 2023
         •   Team Conference Notes from January 2023 - September 2023
         •   Therapy Progress Notes from January 2023 - September 2023
         •   Podiatry Office Notes from February 28, 2023 - September 2023
         •   Physician Progress Notes from January 2023 - September 2023
         •   Vohra notes from January 2023 - February 2023
         •   AHA Paracentesis 1/03/2023
         •   AHA Paracentesis 1/05/2023
         •   AHA Paracentesis 1/10/2023
         •   AHA Paracentesis 1/17/2023
         •   AHA Paracentesis 1/31/2023
         •   AHA Paracentesis 2/07/2023
         •   AHA Paracentesis 2/14/2023
         •   AHA Paracentesis 2/20/2023
         •   AHA Paracentesis 2/28/2023
         •   AHA Paracentesis 3/21/2023
         •   AHA Paracentesis 3/28/2023
         •   AHA Paracentesis 4/04/2023
         •   AHA Paracentesis 4/11/2023
         •   AHA Paracentesis 4/18/2023
         •   AHA Paracentesis 4/25/2023
         •   AHA Paracentesis 5/02/2023


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       •   AHA Paracentesis 5/09/2023
       •   AHA Paracentesis 5/16/2023
       •   AHA Paracentesis 6/20/2023
       •   AHA Paracentesis 7/06/2023
       •   AHA Paracentesis 7/25/2023
       •   AHA Physician Progress 1/26/2023
       •   AHA Physician Progress 2/23/2023
       •   AHA Physician Progress 3/30/2023
       •   AHA Physician Progress 4/27/2023
       •   AHA Physician Progress 5/31/2023
       •   AHA Physician Progress 6/22/2023
       •   AHA Therapy Notes Jan. 2023
       •   AHA Therapy Notes Feb. 2023
       •   AHA Therapy Notes Mar. 2023
       •   AHA Therapy Notes Apr. 2023
       •   AHA Therapy Notes May 2023
       •   AHA Therapy Notes June 23rd , 2023
       •   AHA Therapy Notes June 30th, 2023
       •   AHA Therapy Notes July 2023
       •   AHA Vohra Notes 1/05/2023
       •   AHA Vohra Notes 1/12/2023
       •   AHA Vohra Notes 1/26/2023
       •   AHA Vohra Notes 2/02/2023
       •   AHA Team Conf. Feb. 2023 (1)
       •   AHA Team Conf. Feb. 2023 (2)
       •   AHA Team Conf. Feb. 2023 (3)
       •   AHA Team Conf. 3/02/2023
       •   AHA Team Conf. 3/09/2023
       •   AHA Team Conf. 3/16/2023
       •   AHA Team Conf. 3/23/2023
       •   AHA Team Conf. 3/30/2023
       •   AHA Team Conf. 4/06/2023
       •   AHA Team Conf. 4/20/2023
       •   AHA Team Conf. 4/27/2023
       •   AHA Team Conf. 5/11/2023
       •   AHA Team Conf. 5/18/2023
       •   AHA Team Conf. 5/24/2023
       •   AHA Team Conf. 5/31/2023
       •   AHA Team Conf. 7/14/2023
       •   AHA Team Conf. 7/20/2023
       •   AHA Team Conf. 7/28/2023
       •   AHA Team Conf. 8/10/2023
       •   AHA Team Conf. 8/17/2023


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         •    AHA Team Conf. 8/24/2023
         •    AHA Team Conf. 8/31/2023
         •    AHA Team Conf. 9/07/2023
         •    AHA Podiatry Office Notes 2/28/2023
         •    AHA Podiatry Office Notes July 2023
         •    AHA Neurology Office Notes 1/16/2023
         •    AHA Neurology Office Notes 2/13/2023
         •    AHA Neurology Office Notes 7/18/2023
         •    MAR & TAR Jan. 2023
         •    MAR & TAR Feb. 2023
         •    MAR & TAR Mar. 2023
         •    MAR & TAR Apr. 2023
         •    MAR & TAR May 2023
         •    MAR & TAR June 2023
         •    Medical Records 4/27/2023
         •    CBC with diff./ platelet (1)
         •    CBC with diff./platelet (2)
         •    CBC with diff./platelet (3)
         •    CBC with diff./platelet (4)
         •    CBC with diff./ platelet (5)
         •    CBC with diff./ platelet (6)
         •    CBC with diff./ platelet (7)
         •    CBC with diff./ platelet (8)
         •    CBC with diff./ platelet (9)
         •    CBC with diff./ platelet (10)
         •    CBC with diff./ platelet 1/11/2023
         •    CT Results
         •    Ammonia_ Plasma
         •    Ancillary off site
         •    Doc 0318992023... Reason for visit
         •    Doc 0358512023... ARTCS Orlando Health
         •    Doppler Report (1) FAX 1/30/2023
         •    Doppler Report (2) Trident Care 3/17/2023
         •    Doppler Report (3) Trident Care 4/27/2023
         •    Doppler Report 12/20/2022 Trident Care


      29.     The Beneficiary continued to make progress and currently remains

at NeuLife.




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      30.          As of the date of filing of the appeal and based on clinical

evaluations, examination of the Insured by her treating providers, and continued

progress, it was and continues to be medically necessary for the Insured to

remain at NeuLife due to her condition and for the following reasons:

              i.      The Insured has been undergoing rehabilitation at NeuLife

                      due the complexity of her conditions;

            ii.       The Insured requires and is participating in intensive therapy

                      (a minimum of 15 hours per week);

            iii.      The   Insured   is   showing    measurable   improvement    in

                      functioning;

            iv.       The Insured is making progress in therapy (physical therapy

                      and occupational therapy; and

             v.       Her other care needs are stable and improving.

      31.    On approximately, November 27, 2023, Christina an Anthem

representative called the undersigned’s office regarding the appeal. Christina

stated the appeal was overturned and that they did not have any other

authorizations past June 25, 2023.

      32.          The office of the undersigned advised Christina that all dates of

service from June 25, 2023, moving forward is what is at issue as stated in the

appeal.




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      33.       Despite the clarification and reference to the exact wording of the

appeal, she did not quite understand and stated there were no other

authorization requests.

      34.    After review of the appeal, Anthem issued a letter dated December 1,

2023, wherein it approved the inpatient stay at NeuLife for one day, June 25,

2023. See Exh. C.

      35.   The undersigned’s officed submitted a follow up letter dated

February 21, 2024 to again confirm that the appeal submitted was not limited to

one day and requested that the issue be resolved for approval of all dates of

service from June 25, 2023 to the present.

      36.   As of the date of filing this lawsuit, no response to the letter has been

received. See Exh. D.

      37.    Anthem has failed to comply with its own plan terms and provisions

in the processing of the Appeal and approval of the claims.

      38.   The Beneficiary has had to incur out of pocket expenses for all dates

of service after June 25, 2023, despite the fact that the services are medically

necessary and covered under the Policy.

      39.   The services are covered under various Policy provisions. See Pg. 10,

Rehabilitative Care; Therapeutic Care; Pg. 14, Hospital ancillary services; See Pg.

27, Therapy and Rehabilitation Services, See also pg. 96.

      40.   By virtue of multiple violations and wrongful denial of benefits by

the Defendants and its agents, Plaintiff has incurred out of pocket medical


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expenses in excess of $100,000, been forced to retain the services of the

undersigned counsel and has agreed to pay said attorney a reasonable fee for her

services.

      41. All conditions precedent to the institution of this action (e.g.,

administrative pre-suit appeals) have occurred, been performed, been waived, or

were futile.

                            COUNT I
     VIOLATION OF §502 (a) of ERISA Against Defendant Anthem

      42.           Plaintiff re-adopts and re-alleges and incorporates by

reference paragraphs 1 through 41 as if fully set forth herein.

      43.       Plaintiff is a Plan Beneficiary under §502(a) of ERISA.

      44.       As a Plan Beneficiary under §502(a) of ERISA, Plaintiff is entitled

to recover benefits under the terms of the plan administered by Defendant, its

agents, and employees, under which he is covered.

      45.       As a Plan Beneficiary under §502(a) of ERISA, Plaintiff is entitled

to clarification of her rights to benefits under the terms of the Plan administered

by Defendant, its agents, and employees, under which she is covered.

      46.      The terms of the health benefit plan at issue in this action obligates

Defendant, its agents, and employees, to cover and make payment to Plaintiff for

the Acute Rehabilitation services and covered services in accordance with its

terms.




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      47.    Defendant, its agents, and employees, failed to cover and make full

payment of benefits to Plaintiff although the services are covered under the Policy

and the services for which she sought coverage are medically necessary, in

violation of ERISA.

      48.    Defendant, its agents, and employees, failed to provide Plaintiff with

all rights she is entitled to under the terms of the Plan administered by

Defendant, under which she is covered, in violation of ERISA.

      49.     Defendant, its agents, and employees, failed to make clear to

Plaintiff all rights she is entitled to under the terms of the Plan administered by

Defendant, under which she is covered in violation of ERISA.

      50.     Defendant, its agents, and employees, further violated ERISA by

interpreting and implementing ERISA plan terms in a way that was

systematically arbitrary and capricious, and failed to provide a benefit

determination and appeal process that provides for a full and meaningful review

of benefit claims and determinations.

      51.     As a direct and proximate cause of the Defendant’s and Defendant’s

agents and employees’ violations of ERISA, Plaintiff has suffered damages.

      52.     Plaintiff is entitled to monetary damages and/or restitution from

Defendant. In particular, and not by way of limitation, Defendant is liable to

Plaintiff for unpaid benefits, interest, attorneys’ fees, and other penalties as this

Court deems just and proper, under ERISA §502(a)(1)(B), 29 U.S.C.

§1132(a)(1)(B).


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      53.      In addition, Plaintiff seeks counsel fees, costs, prejudgment interest

and other appropriate equitable relief, Defendant’s violations of ERISA.

                            COUNT I
   VIOLATION OF §502 (a) of ERISA Against Defendant HighMark

      54.         Plaintiff re-adopts and re-alleges and incorporates by reference

            paragraphs 1 through 41 as if fully set forth herein.

      55.         Plaintiff is a Plan Beneficiary under §502(a) of ERISA.

      56.         As a Plan Beneficiary under §502(a) of ERISA, Plaintiff is entitled

to recover benefits under the terms of the plan administered by Defendant, its

agents, and employees, under which he is covered.

      57.     As a Plan Beneficiary under §502(a) of ERISA, Plaintiff is entitled to

clarification of her rights to benefits under the terms of the Plan administered by

Defendant, its agents, and employees, under which she is covered.

      58.       The terms of the health benefit plan at issue in this action obligates

Defendant, its agents, and employees, to cover and make payment to Plaintiff for

the Acute Rehabilitation services and covered services in accordance with its

terms.

      59.       Defendant, its agents, and employees, failed to cover and make full

payment of benefits to Plaintiff although the services are covered under the Policy

and the services for which she sought coverage are medically necessary, in

violation of ERISA.




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      60.    Defendant, its agents, and employees, failed to provide Plaintiff with

all rights she is entitled to under the terms of the Plan administered by

Defendant, under which she is covered, in violation of ERISA.

      61. Defendant, its agents, and employees, failed to make clear to Plaintiff

all rights she is entitled to under the terms of the Plan administered by

Defendant, under which she is covered in violation of ERISA.

      62.     Defendant, its agents, and employees, further violated ERISA by

interpreting and implementing ERISA plan terms in a way that was

systematically arbitrary and capricious, and failed to provide a benefit

determination and appeal process that provides for a full and meaningful review

of benefit claims and determinations.

      63.         As a direct and proximate cause of the Defendant’s and

Defendant’s agents and employees’ violations of ERISA, Plaintiff has suffered

damages.

      64.     Plaintiff is entitled to monetary damages and/or restitution from

Defendant. In particular, and not by way of limitation, Defendant is liable to

Plaintiff for unpaid benefits, interest, attorneys’ fees, and other penalties as this

Court deems just and proper, under ERISA §502(a)(1)(B), 29 U.S.C.

§1132(a)(1)(B).

      65.    In addition, Plaintiff seeks counsel fees, costs, prejudgment interest

and other appropriate equitable relief, Defendant’s violations of ERISA.




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                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, AMRIT HANS-ATCHISON, prays that this

Honorable Court will enter judgment against Defendants, HIGHMARK and

ANTHEM, as follows:

   a. For monetary damages and civil penalties;
   b. For reasonable attorney’s fees and costs of suit;
   c. For all damages allowed under ERISA;
   d. Declaring that Anthem has breached the terms of the Summary Plan
      Description;
   e. Declaring that Anthem has breached its fiduciary duties under ERISA;
   f. Declaring that HighMark has breached the terms of the Summary Plan
      Description;
   g. Declaring that HighMark has breached its fiduciary duties under ERISA;
   h. Awarding pre-judgment and post-judgment interest; and
   i. For such other and further relief as the Court deems just and proper.
      Dated this 24th day of March 2024.

                                      Respectfully submitted,

                                      HEALTH AND MEDICINE LAW FIRM
                                      Counsel for Plaintiff
                                      8950 SW 74th Court, Suite 2201
                                      Miami, FL 33156
                                      Phone No.: 305-677-2292
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                                      admin@healthandmedicinelawfirm.com
                                      Attorney email:
                                      msanti@healthandmedicinelawfirm.com

                                      By:    /s/ Maria T. Santi
                                             MARIA T. SANTI, ESQUIRE
                                             Florida Bar No.: 117564



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